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                           In the United States District Court
                            for the Southern District of Ohio
                                     Western Division


 Robert Parker,

         On behalf of himself and those similarly     Case No. 1:20-cv-00277
         situated,

                  Plaintiff,                          Judge Janet T. Neff

         v.                                           Magistrate Judge Ray Kent

 Battle Creek Pizza, Inc., et al.,

                  Defendants.


      Plaintiff’s Motion for Leave to File First Amended Complaint


        Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, Plaintiff hereby moves

the Court for leave to file his First Amended Complaint. The reasons justifying the amendement

are more fully set forth in the attached memorandum in support.



                                                Respectfully submitted,


                                                /s/Nathan Spencer
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________________________________________________________________

 Plaintiff’s Memorandum in Support of Motion for Leave to File First
                        Amended Complaint


1. Introduction

       Plaintiff seeks leave of Court to file his First Amended Complaint. A copy of the proposed

Amended Complaint is attached as Exhibit 1. Plaintiff’s request is timely under the Court’s

Calendar Order (Doc. 20). Plaintiff seeks to amend his Complaint to add Paul Adams as named

plaintiff on behalf of Indiana delivery drivers employed by Battle Creek Pizza, Inc. and Kevin

Hershock. Mr. Adams works as a delivery driver at Defendants’ store in Indiana and asserts claims

under Indiana wage and hour law, as well as under the theory of unjust enrichment, stemming from

Defendants’ alleged mileage under-reimbursement practices.

2. Argument

       Rule 15(a) of the Federal Rules of Civil Procedure governs amendment of pleadings and

provides that “leave [to amend pleadings] should be freely given when justice so requires.” The

grant or denial of leave to amend is committed to the sound discretion of the district court. Wallace

Hardware Co., Inc. v. Abrams, 223 F.3d 382, 409 (6th Cir. 2000) (affirming district court decision

to allow plaintiff to file amended complaint twenty-one months after filing its initial complaint).

The trial court’s discretion is, however, “limited by Fed.R.Civ.P. 15(a)’s liberal policy of

permitting amendments to ensure the determination of claims on their merits.” Marks v. Shell Oil

Co., 830 F.2d 68, 69 (6th Cir.1987) (citation omitted). Indeed, leave to amend the pleading is only

denied in situations where there is undue delay, bad faith, dilatory motive on the part of the

movant, or undue prejudice to the opposing party by virtue of allowing the amendment. Foman v.
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Davis, 371 U.S.178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222 (1962); Seals v. Gen. Motors Corp., 546 F.3d

766, 770 (6th Cir. 2008); Brumbalough v. Camelot Care Centers, Inc., 427 F.3d 996, 1001 (6th Cir.

2005).

    2.1. None of the factors that weigh against an amendment are present here.

         As this case’s procedural history shows, this case is essentially at its start. The parties have

exchanged only one round of discovery requests, and the notice period is still on-going. Under

these circumstances, it is clear that Plaintiff has not unduly delayed in seeking leave to file his First

Amended Complaint. Plaintiff is seeking leave to file an Amended Complaint before the deadline

set in the Case Management Conference. See Doc. 20. Plaintiff’s request is not made in bad faith,

and the request will not result in undue prejudice to Defendants.

3. Conclusion

         Plaintiff’s request is not made in bad faith or with dilatory motive. It will not result in an

undue prejudice to Defendants. Accordingly, Plaintiff respectfully requests this Court to grant his

Motion for Leave to file the First Amended Complaint.


                                                Respectfully submitted,


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                                               Counsel for Plaintiff and the putative class




                                     Certificate of Compliance

In compliance with W.D. Mich. L.R. 7.3(b)(ii), Plaintiff certifies this brief is less than 1,000 words.
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                                       Certificate of Service
       Plaintiffs certify that a copy of the foregoing was filed electronically. Notice of this filing

will be sent by operation of the Court’s ECF system to all parties indicated on the filing receipt.


                                              /s/ Nathan Spencer
                                              Nathan Spencer
